
*802OPINION.
Mokris:
The only assets upon which we have sufficient information to determine a reasonable allowance for exhaustion, wear and tear are the logging equipment and the trucks. Such evidence indicates that the depreciation rate used by the respondent is too low. On the planing mill and milling equipment in Plants No. 1 and No. 2, which comprise the major portion of petitioner’s plant, the evidence is too meager to determine a reasonable allowance. As the respondent applied a rate of 10 per cent to all the assets and the petitioner has proved that that rate is incorrect only as to a small portion thereof, the respondent’s determination is approved. Appeal of Citizens Trust Co. of Utica, 2 B. T. A. 1239; Appeal of Art Metal Construction Co., 4 B. T. A. 493; Boucher-Cortright Coal Co. v. Commissioner, 7 B. T. A. 1.

Judgment will be entered for Che respondent.

Considered by MuRdock and Siefkin.
